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                                             U.S. Department of Justice

                                             Office of the United States Trustee
                                             Southern District of New York
                                             201 Varick Street                   (212) 510-0500
                                             Suite 1006                    Fax: (212) 668-2255
                                             New York, New York 10014



                                              February 26, 2018



BY ECF AND BY HAND

Hon. James L. Garrity, Jr.
Hon. Michael E. Wiles
United States Bankruptcy Judges
United States Bankruptcy Court
Alexander Hamilton Customs House
One Bowling Green
New York, New York 10004


                         Re:   In re P&R Bronx LLC
                               Case No. 18-10512 (JLG)

Dear Judges Garrity and Wiles:

          I respectfully write to request that the above-captioned
pro se Chapter 11 case be re-assigned to the Honorable Michael E.
Wiles.

          The debtor, P&R Bronx LLC (the “Debtor”), had a prior pro
se Chapter 11 case, Case No.17-13220 (MEW), before Judge Wiles. At
the hearing upon this Office’s motion to dismiss the prior case for
failure to obtain counsel, which motion was granted, Judge Wiles
indicated that the parties should notify the Court if the Debtor
re-filed so that the case could be re-assigned to him.
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Hon. James L. Garrity, Jr.
Hon. Michael E. Wiles
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                                              Respectfully,

                                              WILLIAM K. HARRINGTON
                                              UNITED STATES TRUSTEE, REGION 2

                                        By:      /s/ Serene K. Nakano
                                              SERENE K. NAKANO
                                              Trial Attorney
                                              (212) 510-0505


cc:   Aviva Francis, Esq.
      By E-Mail: Afrancis@jntllp.com

      P&R Bronx LLC
      By Regular U.S. Mail
